                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

IN RE ENDOCYTE, INC.                                  )        CONSOLIDATED
DERIVATIVE LITIGATION                                 )        Case No. 1:14-cv-1551 SEB-DML



    ORDER GRANTING VOLUNTARY DISMISSAL WITHOUT PREJUDICE AND WAIVING
                  NOTICE REQUIREMENT UNDER FRCP 23.1(c)

       This cause has come before the Court upon Plaintiffs’ Motion to Accept Voluntary Dismissal

without Prejudice and Waive Notice Requirement of Fed. R. Civ. P. 23.1(c). Being fully advised, it is

now ORDERED that the motion be, and hereby is, GRANTED.

       IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the above-captioned

matter is voluntarily dismissed, without prejudice, and it is further ordered that the notice-to-shareholder

requirement under Fed. R. Civ. P. 23.1(c) is hereby waived for good cause shown.




               4/19/2016
       Dated: ____________
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                                                          SARAH EVANS BARKER, JUDGE
                                                          United States District Court
                                                          Southern District of Indiana




Copies to:

Distribution to all registered counsel by CM/ECF.

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